                 Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 1 of 18 PageID #:1

 AO 91 (Rev. I l/l 1) Criminal Complaint                                   AUSA Steven J. Dollear (312) 353-5359

                                                                                         t,tfH,tf3_88e7
                                           NORTHERN DISTRICT OF ILLINOIS
                                                EASTERN DIYISION
                                                                                          ocT-52017
 UNITED STATES OF AMERICA
                                                                                     THOMAS G. BRUTON
                                                                                                           N_-
                                                            CASE NUMBER:           CLERK, U.S. DISTRICT COURT
                              v.

 MICIIAEL JARIGESE                                                  LTCR          656
                                                                      [4AGISTMTE JUDGE                  ffiOW3ND
                                               CRIMINAL COMPI,AIIYT

         I, the complainant in this case, state that the following is true to the best of my knowledge
and belief.
On or about May 22,2OL3, in the Northern District of Illinois,9astern Division, the defendant
violated:
       Code Section                                       Offinse Description
       Title 18, United States Code, Section              corruptly giving, offering, and agreeing to give
       666(aX2)                                           things of value, namely approximately $1O,OOO
                                                          for the benefit of Public Official A, with intent to
                                                          influence and reward Public Official A, the mayor
                                                      "   of Municipality A, a suburban city located in Cook
                                                          County, Illinois, that received in excess of $10,000
                                                          under a federal program in the twelve-month
                                                          period from January t,20tB through December
                                                          31, 2013, in connection with any business,
                                                          transaction, and series of transactions of $5,000
                                                          or more with Municipality A, namely construction
                                                          contracts with Municipality A.

     This criminal complaint is based upon these facts:
       X     Continued on the attached sheet.

                                                                 THARINE L. WALKER
                                                              Special Agent, Federal Bureau of Investigation

Sworn to before me and signed in my presence.

 Date: October 5. 2017
                                                                            Judge's signature

 City and state: Chicaeo. Illinois                         MARY M. ROWLAND. U.S. Magistrate Judge
                                                                          Printed name and Title
     Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 2 of 18 PageID #:2




 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS


                                     AFFIDAVIT

       I, KATIIARINE L. WALKER, being duly sworn, state as follows:

       1.      I am a Special Agent with the Federal Bureau of Investigation, and have

been so employed for approximately 9 years. My current responsibilities include the

investigation of public corruption offenses.

       2.      This affidavit is submitted in support of a crininal complaint alleging

that MICIIAEL JARIGESE.has violated Title 18, United States Code, Section
666(aX2). Because this affrdavit is being submitted for the limited purpose of

establishing probable cause in support of a criminal complaint charging JARIGESE

with bribery, I have not included each'and every fact known to me concerning this

investigation. I have set forth only the facts that I believe are necessary to establish

probable cause to believe that JARIGESE committed the offense alleged            in   the

complaint.

       3.      Thip,affidavit is based on my personal knowledge, experience, and

training; information provided to me by other law enforcement agents; information

provided by various witnesses, and in particular, the witnesses described in j[1[ 4-6

below; and my review of documents, including public and bank records.

      Sources of    Information
      4.       Some of the information   in this affidavit has been provided by Public
Official   A. Public Ofiicial A has testified under oath, and in exchange for Public
     Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 3 of 18 PageID #:3




Official A's truthful cooperation, the government has agreed to recommend a reduced

sentence at the time of Public Official A's sentencing. Based upon a criminal history

check, Public Official A has no known prior convictions. Some of the information

provided by Public Official    A has been corroborated by other        witnesses, public

records, bank records, and records obtained from two businesses: Tower Contracting

LLC and Company A.

        5.    Other information in this affidavit has been provided by Individual A.

Individual A has testified under oath without any promises           the government, but
                                                               1o*
                                                              l'

Individual A hopes that in exchange for his/her truthful cooperation, the government

will take his/her cooperation into   account when making charging decisions and later

recommend a reduced sentence at the time ofJndividual A's sentencing. Based upon

a criminal history check, Individual A has no known prior convictions. Some of the

information provided by Individuq.l A has been corroborated by other witnesses,

public records, bank records, and records obtained from Company A.

        6.   Other inforqration in this affidavit has been provided by Individual B.

Individual B has testified under oath,'without any promises from the government.

Some of the information provided by Individual B has been corroborated by other

witnesses, public records, bank records, and records obtained from Tower Contracting

LLC.1




1 Based upon a criminal history check and information provided by Individual B, law
enforcement believes that Individual B was convicted of forgery more than 45 years ago and
sentenced to one year ofprobation as a result.



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     Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 4 of 18 PageID #:4




      Background

      7.       Municipality A is a suburban city located    in Cook County,    Illinois.

According to information provided to me by the U.S. Department of Transportation,

from January L,20L3, and continuing through December 31, 2013, Municipality A

received benefits in excess of $10,000 in grants under a federal program or some other

form of federal assistance.

      8.      Public Official A was the mayor of Municipality A at all times relevant

to the events described in this affidavit, including May 2013.   '


      9.      According to Public Official A, while Public Official A served as mayor

of Municipality A, construction projects in Municipality A were assigned to
contractors   in a number of ways, including the design build process. For a design
build project, a contractor interested in doing work for Municipality A does not need

to go through a public bidding procqss. As mayor of Municipality A, Public Official A

could better steer work to a particular contractor when a project did not involve the

public bidding process.

      10.     Accordirlg to Public Offrcial A, after a contractor was awarded a project

by Municipality A, Public Official A had to sign off on paperwork before that
contractor could be paid by Municipality A. Employees of Municipality A would verifii

that the contractor had completed its work and then prepare paperwork for Public

Official A to sign approving payment to the contractor. Afber Public Official A signed

that paperwork, it was sent to the bank where Municipality A's funds were held, and

the bank issued the payment to the contractor. If Public Official A did not sign the




                                           3
     Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 5 of 18 PageID #:5




paperwork, the contractor would not be paid. According to Public Official A, Public

Official A had the ability to speed up or slow down paJ[nents to contractors and

vendors.

      11.   According to Public Official       A and documents I have reviewed   from

Municipality A and Tower Contracting LLC, Tower Contracting LLC is a general

contractor who, beginning no later than January 2010 and continuing through at

least January 2014, has worked on a number of construction projects for Municipality

A, and has received pa5rments from Municipality A for that work. Each of those
construction projects paid well over $5,000          to Tower. For    instance, from

approximately January 2012 to approximately January 2014, Tower Contracting

LLC was paid approximately $4,2L9,188 by N{unicipality A for construction work in

Municipality A through a series of payments, and many of these payments were made

by interstate wire transfers. Frorp at least early 2012, JARIGESE has been the

president of Tower Contracting LLC.

      In or Around Februany 2072, JARIGESE Bribed Public Official Awith
      a Chech for $751000 Made Out to a Shell Cornpany Created by Public
      Official A.

      L2.   According to Public Official A, Public Official A and JARIGESE met in

person around early 20L2, when Tower Contracting LLC was preparing to work on

an upcoming project for Municipality   A. During that meeting, Public Official A noted
to JARIGESE that Tower already had performed a substantial amount of work for

Municipality A. Public Official A then asked JARIGESE for     $1OO,OOO.   According to




                                           4
       Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 6 of 18 PageID #:6




Public Official A, JARIGESE responded to this request by saying that he would look

into it and get back to Public Official A.

        13.   Sometime later, according to Public Official A, Public Official            A   and

JARIGESE met again. At this meeting, JARIGESE gave Public Official A a check for

$75,000. The check was dated February Ll,zlLz,was from Tower Contracting LLC,

and was made out to Shell Company      A. According to Public Official A, Public Official

A had previously told JARIGESE to make the check out to Shell Company A, as part

of an effort to disguise the fact that JARIGESE's pa5rment to Public Official A was a

bribe or kickback.

        14.   According to Public Official A, as well as public records and bank records

I have reviewed, Shell   Company A was incoqporated          in Illinois around 2003 under
the name of a member of Public Official ,{s family. Members of Public Official A's

family, at Public Official A's diregtion, also opened up a bank account for Shell

Company A.

        15.   According to Public Official A as well as public records and bank records

I   have reviewed, Public Official A also established a second shell company while

Public Official A was mayor of Municipality        A.   That second shell company, Shell

Company B, was incorporated in Illinois around 2009 under the name of a business

associate of Public Official   A. Members    of Public Official A's fami   ly, atPublic Official

A's direction, also opened up a bank account for Shell Company B.

        16.   According to Public Official A, Public Official A originally intended for

the Shell Companies to do work related to real estate and remodeling/rehabilitation.
        Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 7 of 18 PageID #:7




But according to Public Official A, the Shell Companies never did any such work, an

assertion corroborated by Individual A, as discussed in     llj[   46-48 below; bank records

I have reviewed     for the Shell Companies; and the absence of public or business

records reflecting the performance of any work related to real estate, remodeling, or

rehabilitation by the Shell Companies.

         17.    Bank records for Shell Company A reflect that between approximately

June 2008 and June 2013, about $tSg,ggt was deposited into a checking account for

Shell Company A, and that around $85,000 of that amount came from checks from

Tower Contracting      LLC. Another     approximately $0g,ZS0 came from bribe and

kickback payments made to Public Official A by Individual A and Company A, as

discussed    in   5tfl 39-48 below. Those saroe bank records show that between

approximately July 2008 and August 20L6, at least around $tgZ,tO5 was withdrawn

from the bank account for Shell Corppany A by Public Official A or members of Public

Official A's family, for their personal use and benefit, or was transferred to the bank

account for Shell Company B.

         18.   Bank records for Shell Company B reflect that between approximately

July 2011 and Sr$tember 2lts,approximately        $gg,OOO   was deposited into a checking

account for Shell Company B.2 Approximately $gg,OOO of that amount came from

checks from Company A, as discussed      in i[i[ 4]- and 47 below; approximately $15,000

of   that amount came from a company run by a business associate of Public Official A;



2   The checking account for Shell Company B had a balance of $31,295 as of December 31,
2010.



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     Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 8 of 18 PageID #:8




and approximately    $SS,OOO   came from Shell Company      A.   Those same bank records

show that between approximately January 2011and October 2015, at least around

$87 ,295 was   withdrawn from the bank account for Shell Company B by Public Official

A or members of Public Official A's family, for their personal use and benefit.

      19.      According to Public Official A, by having JARIGESE and Individual A

make out the checks to Shell CompanyA and Shell Company B, their payments would

appear to be for legitimate work done by the Shell Companies rather than bribes or

kickbacks to Public Official A.
                                                                 ..1'

      20.      As further part of the effort to disguise the nature of the payments to

the Shell Companies, according to Public Official A, dt the same time that JARIGESE

handed him the    $ZS,OOO   check   in or around February 20L2, JARIGESE also showed

Public Official A an invoice. According to Public Official A, Public Official A did not

create this invoice and did not ask.JARIGESE to create this invoice. According to

Public Official A, JARIGESE told Public Offrcial A that the invoice would help

demonstrate (falsely) that Shell Company A had done work for Tower.

      21. I have feviewed the invoice that JARIGESE              showed Public Official A.

The top of the invoice has the name of Shell Company A, along with a P.O. Box

associated   with Shell Company A. The invoice also has a logo on it, which is
purportedly the logo for Shell Company     A.   The language of the invoice states that in

early February 2OL2, Shell Company A had done construction-related work on

Tower's premises and that the cost of this work was $75,000. As explained above,
     Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 9 of 18 PageID #:9




see I116, Public   Official A stated that Shell Company A did not perform construction

work for anyone, including Tower.

      22.    Law enforcement has also shown this invoice to Individual B, who

worked at Tower in February 20L2. According to Individual B, based on his/her

experience working at Tower, the invoice that JARIGESE gave Public Official A in

February 2012 does not appear to reflect actual work done by Shell Company A for

Tower. More specifically, Individual B does not remember construction work being

done at Tower      in early February 20t2, by Shell   Company    A or any other outside

contractor or vendor.

       23.   In addition, the date on the invoice is Febru   ary 6,2LL2,and the $75,000

check from Tower to Shell Company A was dated February          L4,20l2,just eight days

later. According to Individual B, in the construction business, the standard practice
is for invoices to say "net 30," meaping that the invoices are not paid until 30 days

after the invoice is received. Based on Individual B's experience working at Tower,

Tower typically paid invoices at the end of the 30-day period.

       24.   Furthertnore, the invoice      is   stamped "Posted,"    but   according to

Individual B, th; invoice does not include any other information that Individual B

would normally have seen on an invoice submitted to, and paid by, Tower. For

instance, according to Individual B, a typical invoice at Tower included an internal

code, also known as a job code, as well as the   initials of the project manager at Tower

who had approved the work performed by the outside contractor. The invoice that

JARIGESE handed to Public Official A does not contain this information.




                                           8
    Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 10 of 18 PageID #:10




       25.     FinaIIy, according to Individual B, during Individual B's time working

at Tower, he/she came to recognize the names of most of the subcontractors and

vendors that Tower used. But during Individual B's time working             at   Tower,

Individual B never heard of Shell Company A.

       26.     According   to Public Official A, Public Official A    understood that

JARIGESE gave Public Official A the     $ZS,OOO    check because JARIGESE and Tower

had been getting work from Municipality A and wanted to secure future work from

Municipality   A. In exchange for payments,        Public Official'A would use his/her

position as mayor to steer work      in Municipality A to JARIGESE and Tower.
According to Public Official A, based on their past dealings, JARIGESE was aware

that Public Official A had the authority to steer contracts from Municipality A to

Tower, especially for a design build project.

      27.      According to bank records   I   have reviewed, the $75,000 check Public

Official A received from JARIGESE was deposited in the bank account for Shell

Company A on or about March 19,20L2. According to bank records I have reviewed

as discussed in ![ 1? above, as well as information from Public Official A, Public
                  ;'-
Official A and members of Public Official A's family later withdrew those funds for

their personal use and benefit.

      In or Around May       2073, JARIGESE Bribed Public          Official A With a
      Check for     $70,000 Made Out to Shell Company A

      28.      According   to Public Official A, in or around May 2013, JARIGESE
handed Public Official A a check for $10,000. I have reviewed a copy this check, which

is from Tower to Shell Company A and is dated May 22,2OL3.



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    Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 11 of 18 PageID #:11




       29.   According to Public Offrcial A, Public Official A understood this $10,000

check to be another partial payment on the $100,000 that Public Official A had

originally requested from JARIGESE in or around early 2012.

       30. I have reviewed documents from Tower related to this $10,000 check.
According to a check stub associated with the $10,000 check that I have reviewed,        it
appears that Tower employees recorded the $10,000 check as a donation from Tower

to an annual fall festival hosted by Municipality    A.     Based on information provided

by Individual B, and based on my training and experience as well as the training and
                                                                 ;,
experience of other law enforcement officers     with whom        I have spoken, I   do not

believe that check stub accurately reflects the purpose of the $10,000 check. First,

the May 20L3 check was made out to Shell Cgmpany A, not Municipality A or some

entity associated with the festival. Second, according to Individual B, based           on

his/her experiences working at Tow.er, a check for the fall festival would typically not

have been cut as early as May.

      31. I have also reviewed       an internal Tower check request related to the

$fO;OOO check   that I obtained from Tower. The request is dated May 22,2}ll,and         it
looks like the request was made by JARIGESE because the request has the initials

"MAJ" on it, and those are JARIGESE's initials.        It   appears that the request was

signed and approved the day before, May        2t,   20L3, by another Tower employee,

Individual C. According to the check request, the check is a donation to Municipality

,{s festival, but the request also contains handwriting indicating that the check is
related to a particular job number, or internal code. According to Individual B, the




                                          10
    Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 12 of 18 PageID #:12




job number that appears on the check request is the same job number used by Tower

for a construction project that Tower was working on at the time for Municipality A.

According to Individual B,       if the $t0,000 check was actually a donation to the fall
festival,   it   should not have been charged back to the construction project. Instead,   it
should have been booked in the company's donations expense category.

        32.        According to bank records   I   have reviewed, the $10,000 check Public

Official A received from JARIGESE in May 2013 was deposited in the bank account

for She1l Company A on or about June 12,20L3. According to bank records I have

reviewed as discussed in 1[ 17 above, as well as information from Public Official A,

Public Official A and members of Public Official A's family later withdrew those funds

for their personal use and benefit.

       JARIGESE Also Gaae Public Official A Thousand.s of Dollars in Cash
       as Bribes and Kichbachs.

       33. In addition to the $?S,000 and $1O,OOO checks, according to Public
Official A, JARIGESE also gave Public Official A cash payments, which Public

Official A understood were also partial payments toward the           $1OO,OOO   that Public
Official A had asked for in or around February 20L2. According to Public Official A,

JARIGESE gave him cash on 5 to 10 occasions beginning sometime after February

2012 and continuing through May 2013. According to Public Official A, the most cash

that JARIGESE paid him at one time was approximately $2,500.

       34.        According to Public Official A, JARIGESE arranged to deliver these cash

payments to Public Official A when JARIGESE knew that Public Offrcial A would be

alone in his/her office in Municipality A's City     Hall. On at least three occasions when


                                               11
     Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 13 of 18 PageID #:13




JARIGESE paid Public Official A cash, JARIGESE arrived at Public Official A's office

with a coffee cup, which JARIGESE would hand to Public Official A. Inside the coffee

cup was cash. According to Public Official {., Public Official A understood that

JARIGESE used the coffee cup to conceal the fact that JARIGESE was making

payments to Public Official A.

           35.   According to Individual B, when he/she was employed by Tower, on

multiple occasions, he/she overheard JARIGESE ask Individual D,                  Tower's

controller, to make out a check to Tower. JARIGESE then asked Individual D to call

the bank beforehand so the bank could have the cash ready for Individual              D.

Individual B typically heard Individual D make that call to the bank and then saw

Individual D leave Tower's offices.

           36.   About 3-4 times ayear,Individual B heard JARIGESE tell Individual D

that JARIGESE was going to meet with Public Official A, and then JARIGESE would

ask Individual D to make out a check to Tower and go cash      it at the bank. Individual
B then heard Individual D call the bank and then saw Individual D leave Tower's

offices.

           37.   According to bank records I have reviewed for Tower Contracting LLC,

beginning on or about October     17   ,20L1, and continuing until on or about September

12,.20L3, approximately 18 checks were written from Tower's checking account to

"cash" for a total of approximately $58,926.

       38.       According to bank records I have reviewed for Tower Contracting LLC,

beginning on or about May 3, 201L, and continuing until on or about November 6,




                                              t2
    Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 14 of 18 PageID #:14




2013, approximately 35 checks were written from Tower's checking account to

JARIGESE for a total of approximately $57,183.

       Beginning No Later than Late 2008 and Continuing Through At Least
       June 2073, Indiaidual A Gaae Publie Official A Approriruately $778,000
       in Bribes or Kichbacks Via Chechs Made Out to the Shell Companies
       and a Family Member of Public Official A

       39.    Individual A is the president of Company A. According to Individual A

as well as documents I have reviewed from CompanyA and          MunicipalityA, beginning

no later than April 2008 and continuing through at least 20t6, Company A has

performed various construction projects for Municipalify            A and been paid by
Municipality A for that work.

        40.   According to Individual A, as well as bank records and records provided

by Company A that I have reviewed, between approximately late 2008 and continuing

through 20L3, while Company A was.,doing work for Municipality A, Individual A

gave Public Official A approximately seven checks totaling approximately $174,015.

In addition to these    seven checks, according to Individual A, sometime between

December 2008 and Octob     er 2Oll,he/she gave Public Official A at least $2,000 on at

least two separale occasions.s

       4t.    According to both Individual A and Public Official A, Public Official A

asked Individual A to make these payments in private meetings that typically took




3 According to Public Official A, between approximately late 2008 and October 20LL,
Individual A gave Public Offrcial A six checks, totaling approximately $t65,015, as well as a
handful of cash payments with each payment ranging between $1,000 and $2,000.



                                             13
    Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 15 of 18 PageID #:15




place   in Public Official .{s   office   in Municipality.{s City Hall. Individual A then
delivered checks and cash to Public Official A in similarly private meetings.

        42.    According to Individual A, Individual A paid Public Official A for reasons

similar to those of JARIGESE. More specifically, Individual A paid the requested

bribes to Public Official A because Individual A wanted Company A to get paid in a

timely way by Municipality A and because Individual A wanted Company A to get

future, additional work from Municipality             A.    Based on Individual   As   experience

dealing with Public Offrcial A, Individual A believed that when Public Official A had

authority, discretion, and influence over whether a particular contractor received a

particular job, Public Official A could and would ex€rcise that authority, discretion,

and influence in favor of Individual A and C.ompany              A.   According to Individual A,

Individual A believed that if he/she ever said no to Public Official A's requests for

money, Company A would probably,.not get any future work from Municipality A.

        43.   Public Official A has a similar understanding as to why Individual A

made pa5rments to him beginning in or around December 2008. According to Public

Official A, and based on Public Official A's conversations with Individual A,
                  /"
Individual A paid Public Official A money so that Public Official A would help

Company A get paid in a timely fashion for its ongoing work for Municipality A and

to help Company A secure future work from Municipality                A. Furthermore, according
to Public Official A, and again based on Public Official A's conversations with
Individual A, Individual A believed that             if   he/she said no to Public Offrcial A's

requests for money, Company A would no longer get work from Municipality A.




                                                t4
    Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 16 of 18 PageID #:16




       44.     According to Public Official A, afber receiving the first check from

Individual A sometime in approximately December 2008, at times, Public Official A

used his/her authority as mayor to get Individual          A and Company A work with
Municipality   A. For example, when Public Official A was contacted by other city
employees about emergency or time-sensitive projects          that needed to be done in
Municipality A-projects that were not subject to a public bidding process-Public

Official A would instruct city employees to call Company A to do the work.

       45. In addition, according to Individual A, Individual A thought that if
                                                                ,/
he/she paid Public Official A, Public Official A would put in a good word for Company

A with general contractors-like Tower Contracting LlC-looking to hire a
subcontractor to do the particular kind        of..   construction work that Company A

performed. Indeed, according to Individual A as well as Tower's bank records, since

at least approximately 20LL, Towgr Contracting LLC has hired Company A as a
subcontractor on multiple construction projects.

       46.     According to Public Official A, Individual A, and bank records   I   have

reviewed, when Individual A made payments to Public Official A with a check, he/she

did so, at Public'Official A's direction, by writing checks out to Shell Company A,

Shell Company B, and to a member of Public Official A's family.

      47.    According to Public Official A, by having Individual A make out the

checks to Shelt Company A and Shell Company B, the payments from Individual           A

would appear to be for work done by the Shell Companies rather than bribes or

kickbacks to Public Official A.




                                          15
    Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 17 of 18 PageID #:17




       48.   As part of this attempt to disguise the true nature of the payments from

Individual A to Public Official A, checks that Individual A delivered to Public Official

A sometimes included additional false infor:nation in the check's memo line. For

sxample, one of the checks that Individual A delivered to Public Official A was drafted

on a personal account used by Individual A and had the word "kitchen" in the memo

line, thus making   it appear that the check was a payment from Individual A to one
of the Shell Companies for work performed by one of the Shell Companies. In fact,
                                                                   .,/


the Shell Companies never perforrred any such work, as discud'sed in i[ 16 above.
                                                             /




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    Case: 1:17-cr-00656 Document #: 1 Filed: 10/05/17 Page 18 of 18 PageID #:18




      Conclusion

      49.     Based on the foregoing,   I submit that there is probable   cause to believe

that on or about May 22,2OIL,MICIIAEL JARIGESE corruptly gave, offered, and

agreed to give things of value, namely, approximately $10,000, for the benefit of

Public Official A, with intent to influence and reward Public Official A, the mayor of

Municipality A, a suburban city located in Cook County, Illinois, that received in

excess of $10,000 under a federal program       in the 12-month period from January     1,

zllsthrough    December 31, 2013,   in connection with any business, transaction, and
                                                             .t'
series of transactions of $5,000 or more   with Municipality A, namely, construction
contracts with Municipality A, in violation of 18 U.S.C. $ 666(aX2).

                                         FURTHER AFFIANT SAYETH NOT.




                                                           *ALKER
                                         ffJilffiili,L
                                         Federal Bureau of Investigation



SUBSCRIBED 4D,ID SWORN to before me on October 5,2017 .




United States Magistrate Judge




                                           t7
